                  UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Matthew Albert Whary
     Marsha Lynn Whary
                                          Case No.: 4-19-02876MJC

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition default in the claim below has been paid in full and the debtor(s) have
completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  M&T Bank
 Court Claim Number:             12
 Last Four of Loan Number:       5563
 Property Address if applicable: 255 State Rt 147 Dalmatia

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $2,131.78
 b.      Prepetition arrearages paid by the trustee:                         $2,131.78
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.      Allowed postpetition arrearage:                                     $2,376.06
 f.      Postpetition arrearage paid by the trustee:                         $2,376.06
 g.      Total b, d, and f:                                                  $4,507.84

 PART 3: POSTPETITION MORTGAGE PAYMENT
  Mortgage is paid directly by the debtor(s).

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: December 19, 2022                               Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                                              Disbursements for Claim
Case: 19-02876            MATTHEW ALBERT WHARY
         M & T BANK
                                                                                     Sequence: 24
         P.O. BOX 1288
                                                                                        Modify:
                                                                                    Filed Date: 8/29/2019 12:00:00AM
         BUFFALO, NY 14240-
                                                                                    Hold Code: M
 Acct No: 5563/ ARREARS/255 STATE ROUTE 147
         STAY LIFTED


                                                Debt:          $15,341.71        Interest Paid:                 $0.00
        Amt Sched:                 $0.00                                           Accrued Int:                  $0.00
         Amt Due:         $0.00                 Paid:           $2,376.06         Balance Due:              $12,965.65

Claim name                           Type        Date           Check #       Principal    Interest       Total Reconciled
                                                                                                DisbDescrp
 5201        M & T BANK
520-1 M & T BANK                      C        11/02/2021                0    ($578.66)      $0.00       ($578.66)
                                                                                                  Cred Rfd Chk #: 400105688
520-1 M & T BANK                               10/14/2021       9012249        $578.66       $0.00       $578.66 10/14/2021


520-1 M & T BANK                               09/14/2021       9011998        $361.67       $0.00       $361.67 09/14/2021


520-1 M & T BANK                               07/14/2021       9011479        $578.66       $0.00       $578.66 07/14/2021


520-1 M & T BANK                               05/18/2021       9010941        $361.66       $0.00       $361.66 05/19/2021


520-1 M & T BANK                               04/15/2021       9010658        $416.73       $0.00       $416.73 05/13/2021


520-1 M & T BANK                               03/17/2021       9010370        $108.32       $0.00       $108.32 03/17/2021


520-1 M & T BANK                               02/17/2021       9010072        $463.80       $0.00       $463.80 02/17/2021


520-1 M & T BANK                               01/19/2021       9009775         $85.22       $0.00        $85.22 01/20/2021


                                                             Sub-totals: $2,376.06           $0.00     $2,376.06

                                                            Grand Total: $2,376.06           $0.00




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                                                Disbursements for Claim
Case: 19-02876            MATTHEW ALBERT WHARY
         M & T BANK
                                                                                       Sequence: 24
         P.O. BOX 1288
                                                                                          Modify:
                                                                                      Filed Date: 8/29/2019 12:00:00AM
         BUFFALO, NY 14240-
                                                                                      Hold Code: M
 Acct No: 5563/ ARREARS/255 STATE ROUTE 147
         REFUND/RELIEF GRANTED


                                                  Debt:          $13,764.44        Interest Paid:                 $0.00
        Amt Sched:                $116,809.00                                        Accrued Int:                  $0.00
         Amt Due:         $0.00                   Paid:           $2,131.78         Balance Due:              $11,632.66

Claim name                               Type      Date           Check #       Principal    Interest       Total Reconciled
                                                                                                  DisbDescrp
 5200        M & T BANK
520-0 M & T BANK                          C      11/02/2021                0    ($519.17)      $0.00       ($519.17)
                                                                                                    Cred Rfd Chk #: 400105688
520-0 M & T BANK                                 10/14/2021       9012249        $519.17       $0.00       $519.17 10/14/2021


520-0 M & T BANK                                 09/14/2021       9011998        $324.49       $0.00       $324.49 09/14/2021


520-0 M & T BANK                                 07/14/2021       9011479        $519.16       $0.00       $519.16 07/14/2021


520-0 M & T BANK                                 05/18/2021       9010941        $324.49       $0.00       $324.49 05/19/2021


520-0 M & T BANK                                 04/15/2021       9010658        $118.82       $0.00       $118.82 05/13/2021


520-0 M & T BANK                                 03/17/2021       9010370        $139.22       $0.00       $139.22 03/17/2021


520-0 M & T BANK                                 02/17/2021       9010072        $596.07       $0.00       $596.07 02/17/2021


520-0 M & T BANK                                 01/19/2021       9009775        $109.53       $0.00       $109.53 01/20/2021


                                                               Sub-totals: $2,131.78           $0.00     $2,131.78

                                                              Grand Total: $2,131.78           $0.00




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    IN RE:    Matthew Albert Whary                             CHAPTER 13
              Marsha Lynn Whary
                              Debtor(s)                        CASE NO: 4-19-02876MJC

                                 CERTIFICATE OF SERVICE


 I certify that I am more than 18 years of age and that on December 19, 2022, I served a copy of
 this Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
 PA, unless served electronically.

   Served Electronically
   Law Office of Lisa Rynard, Esq
   240 Broad St
   Montoursville PA 17754



   Served by First Class Mail
   M&T Bank
   PO Box 1288
   Buffalo NY 14240-01288

   Matthew Albert Whary
   255 State Route 147
   Dalmatia PA 17017


  I certify under penalty of perjury that the foregoing is true and correct.



  Date: December 19, 2022                               /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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